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 4
     Attorney for Defendant
 5   BRANDON ROBERTS

 6

 7                                    UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             No. 2:12-CR-00049-TLN

11                       Plaintiff,                        STIPULATION AND [PROPOSED]
                                                           ORDER TO CONTINUE STATUS
12           v.                                            CONFERENCE, AND TO EXCLUDE
                                                           TIME PURSUANT TO THE SPEEDY
13   BRANDON ROBERTS,                                      TRIAL ACT

14                       Defendant.

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16           IT IS HEREBY STIPULATED by and between the parties hereto through their respective

17   counsel, Todd Pickles, Assistant United States Attorney, attorney for plaintiff, and Michael E.

18   Hansen, attorney for defendant Brandon Roberts, that the previously-scheduled status conference

19   date of January 30, 2014, be vacated and the matter set for status conference/change of plea on

20   February 20, 2014, at 9:30 a.m.

21           This continuance is requested to allow counsel additional time to negotiate a plea

22   agreement.

23           The Government concurs with this request.

24           Further, the parties agree and stipulate the ends of justice served by the granting of such a

25   continuance outweigh the best interests of the public and the defendant in a speedy trial and that

26   time within which the trial of this case must be commenced under the Speedy Trial Act should

27   therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to Local Code

28   T4 (to allow defense counsel time to prepare), from the date of the parties’ stipulation,
                                                           1
     Stipulation and Order to Continue Status Conference
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 1   January 28, 2014, to and including February 20, 2014.

 2           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

 3           IT IS SO STIPULATED.

 4   Dated: January 28, 2014                                   Respectfully submitted,
 5                                                             /s/ Michael E. Hansen
                                                               MICHAEL E. HANSEN
 6                                                             Attorney for Defendant
                                                               BRANDON ROBERTS
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     Dated: January 28, 2014                                   BENJAMIN B. WAGNER
 8                                                             United States Attorney
 9                                                             By: /s/ Michael E. Hansen for
                                                               TODD PICKLES
10                                                             Assistant U.S. Attorney
                                                               Attorney for Plaintiff
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12

13                                                  ORDER

14           The Court, having received, read, and considered the stipulation of the parties, and good

15   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

16   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that it

17   is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within the

18   time limits established in 18 U.S.C. section 3161. In addition, the Court specifically finds that the

19   failure to grant a continuance in this case would deny defense counsel to this stipulation

20   reasonable time necessary for effective preparation, taking into account the exercise of due

21   diligence. The Court finds that the ends of justice to be served by granting the requested

22   continuance outweigh the best interests of the public and the defendant in a speedy trial.

23           The Court orders that the time from the date of the parties’ stipulation, January 28, 2014,

24   to and including February 20, 2014, shall be excluded from computation of time within which the

25   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section

26   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is

27   further ordered that the January 30, 2014, status conference shall be continued until February 20,

28   2014, at 9:30 a.m., for status conference/change of plea.
                                                           2
     Stipulation and Order to Continue Status Conference
        Case 2:12-cr-00049-WBS Document 77 Filed 01/29/14 Page 3 of 3


 1           IT IS SO ORDERED.

 2   Dated: January 28, 2014
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                                                           Troy L. Nunley
 7                                                         United States District Judge
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     Stipulation and Order to Continue Status Conference
